                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

WILLIE TERION WASHINGTON,               §
Petitioner,                             §
                                        §
v.                                      § Civil Action No. 4:07-CV-721
                                        §
BOBBY LUMPKIN,                          §
Director, Texas Department of           §
Criminal Justice, Correctional          §
Institutions Division,                  §
Respondent.                             §

     UNOPPOSED MOTION FOR CONTINUANCE OF EVIDENTIARY
            HEARING SCHEDULED FOR JUNE 6, 2022

       Petitioner, Willie Terion Washington, through counsel, respectfully

requests that the Court grant a continuance of the evidentiary hearing

scheduled in this case. Respondent is unopposed to the relief requested herein.

       Pursuant to the Amended Scheduling Order, ECF Doc. 220, this case is

scheduled for an evidentiary hearing to be conducted on the week of June 6,

2022. The parties have met all pre-hearing deadlines to this point, including

designating experts, exchanging witness and exhibit lists, and filing pre-

hearing objections and responses. However, despite Petitioner’s diligence, a

number of unforeseen obstacles are now impeding his ability to effectively

prepare for the June 6 hearing.

       Petitioner seeks a continuance of the hearing for the following reasons:
      First, undersigned counsel is unable to meet with Petitioner to prepare

for this hearing. Following the recent inmate escape, TDCJ has imposed a ban

on visits and telephone calls to many Texas prisons, including the Polunsky

Unit where Petitioner is housed. 1 As a result, undersigned counsel was

recently turned away from visiting Petitioner and has been unable to schedule

any future communication. Access to counsel is critical to Mr. Washington’s

hearing preparation, and the current TDCJ lockdown impedes that access

“until further notice.”

      Second, multiple members of the defense team are currently battling

COVID or a similar severe illness, interfering with their ability to contribute

at this crucial time. One member was required to be hospitalized this week.

Moreover, one of Mr. Washington’s testifying experts is also currently battling

a COVID infection.

      This motion is not intended for the purpose of delay. Despite Mr.

Washington’s best efforts to effectively prepare for this hearing in the midst of

the pandemic, the team has been mired by the recent resurgence of COVID

cases. This, combined with Mr. Washington’s inability to access counsel “until

further notice,” compels undersigned counsel to request a modest continuance

of the June 6 hearing to allow for the current obstacles to clear.



1  See Active Alerts: Visitation Cancellation, TDCJ (May             18,   2022),
https://www.tdcj.texas.gov/alert/index_visitation_cancelled.html.
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     For the foregoing reasons, Mr. Washington respectfully requests the

scheduled evidentiary hearing be reset for the week of August 22, 2022.



                                   Respectfully submitted,


                                   /s/ Derek VerHagen
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                                   ATTORNEYS FOR PETITIONER

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                    CERTIFICATE OF CONFERENCE

I hereby certify that on May 18, 2022, I conferred with counsel for the
Respondent, who indicated no opposition to the relief requested herein.

                                    /s/ Derek VerHagen
                                    Derek VerHagen




                       CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Unopposed Motion
for Continuance of Evidentiary Hearing has been served by CM/ECF upon
counsel for Respondent on May 19, 2022.

                                    /s/ Derek VerHagen
                                    Derek VerHagen




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